           Case 2:20-cv-02231-JAD-NJK Document 46 Filed 12/03/21 Page 1 of 1




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 3
                               UNITED STATES DISTRICT COURT
 4
                                       DISTRICT OF NEVADA
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 6   ANTHONY LEE CANNON,
                                                           Case No. 2:20-cv-02231-JAD-NJK
 7          Plaintiff,
                                                                          Order
 8   v.
                                                                     [Docket No. 33]
 9   STATE OF NEVADA, DEPARTMENT OF
     HEALTH AND HUMAN SERVICES,
10   DIVISION OF WELFARE AND
     SUPPORTIVE SERVICES, et al.,
11
            Defendants.
12
13         Pending before the Court is Defendants’ motion to stay discovery pending resolution of its
14 motion to dismiss. Docket No. 33; see also Docket No. 21 (motion to dismiss). Plaintiff filed no
15 response to this request. See Docket. Accordingly, Defendants’ motion is properly granted as
16 unopposed. See Local Rule 7-2(d) (“The failure of an opposing party to file points and authorities
17 in response to any motion . . . constitutes a consent to the granting of the motion.”). See Docket.
18 Additionally, the Court has examined Defendants’ motion and finds it is appropriately granted on
19 the merits.
20         Accordingly, Defendants’ motion to stay discovery, Docket No. 33, is GRANTED. In the
21 event resolution of Defendants’ motion to dismiss does not result in the termination of this case,
22 an amended discovery plan or joint status report must be filed within 14 days of the issuance of
23 such order.
24         IT IS SO ORDERED.
25         Dated: December 3, 2021
26                                                              ______________________________
                                                                Nancy J. Koppe
27                                                              United States Magistrate Judge
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